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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 DOPE ECOMMERCE LLC,
 a Delaware Limited Liability Company,

        Plaintiff,                                      Case No.: 24-cv-02384

                v.

 THE PARTNERSHIPS and UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE
 “A”,

       Defendants.
________________________________________________________________

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Dope Ecommerce LLC, by and through its attorneys Revision Legal, PLLC, states

as follows for its Complaint and Demand for Jury Trial:

                          PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff Dope Ecommerce LLC (“Plaintiff” or “Dopeskill”) is a Delaware limited

liability company.

       2.      Upon information and belief, the Partnerships and Unincorporated Associations

Identified on Schedule A (“Defendants”) are individuals and business entities that own and/or

operate one or more ecommerce stores under the seller aliases in Schedule A, based out of China,

Vietnam, or other foreign jurisdictions.

       3.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17

U.S.C. § 501, et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

       4.      Personal jurisdiction is proper over Defendants because exercise thereof would not

offend traditional notions of fair play or substantial justice because Defendants have purposefully
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availed themselves of this forum state, the cause of action arises from Defendants’ activities here,

and the Defendants’ actions have caused damage to Dopeskill in the State of Illinois.

        5.     Specifically, Defendants purposefully and intentionally availed themselves of this

forum state by manufacturing, importing, distributing, offering for sale, displaying, advertising,

and selling counterfeit goods bearing Dopeskill’s creative works; by manufacturing, importing,

distributing, offering for sale, displaying, advertising, and selling counterfeit goods bearing

Dopeskill’s trademark; and by creating and operating interactive websites that reveal specifically

intended interactions with residents of the State of Illinois.

        6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores operating under several aliases. Specifically,

Defendants have targeted sales to Illinois residents by setting up and operating e-commerce stores

that target United States consumers using one or more aliases identified in Schedule A attached

hereto (“Seller Aliases”). They offer shipping to the United States, including Illinois, accept

payment in U.S. dollars and, on information and belief, have sold products using infringing and

counterfeit versions of Dopeskill’s federally registered trademarks, copyrighted designs, or both

to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging

in interstate commerce, and has wrongfully caused Dopeskill substantial injury in the State of

Illinois.




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                                        STATEMENT OF FACTS

                                          Plaintiff’s Business

        7.      Dopeskill is an ecommerce company that operates an online store,

<dopeskillbrand.com>, offering t-shirts, hoodies, and related apparel featuring unique street

fashion designs to pair with popular sneakers.

        8.      Dopeskill’s business model has been a wild success. Dopeskill has sold products

including, t-shirts and sweatshirts, on its website throughout the United States and internationally

via its online retail store services.

        9.      The Dopeskill business has grown based on its online presence and reputation. The

majority of Dopeskill’s site traffic is a result of organic search traffic as opposed to paid

advertising.

        10.     Dopeskill is a global business with online retail store services via a state-of-the-art

website and marketing and advertising online across social media channels.

                                  Plaintiff’s Registered Trademark

        11.     Dopeskill has taken significant steps to protect and register its trademark rights with

the United States Patent and Trademark Office (“USPTO”) as follows:

 Registration No. Trademark                Registration Date     Goods/Services
 6,532,338        DOPESKILL                October 19, 2021      IC 025: Clothing and apparel,
                                                                 namely, t-shirts, sweatshirts, and
                                                                 long sleeve shirts; Clothing and
                                                                 apparel, namely, tops as clothing,
                                                                 bottoms as clothing, headwear,
                                                                 and socks

                                                                 IC 035: Computerized online
                                                                 retail ordering services featuring
                                                                 clothing and apparel, namely, t-
                                                                 shirts, sweatshirts, and long sleeve
                                                                 shirts; Computerized online retail
                                                                 ordering      services     featuring



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                                                                 clothing and apparel, namely, tops
                                                                 as clothing, bottoms as clothing,
                                                                 headwear, and socks

          12.    Dopeskill has used the above mark (the “Dopeskill Mark”) continuously and

exclusively on online retail store services and clothing and apparel since at least as early as

September 3, 2020.

          13.    Examples of how Plaintiff uses the Dopeskill Mark are depicted below:

          Plaintiff’s Website Header:




          Plaintiff’s Clothing and Apparel:




          14.    Plaintiff has expended significant efforts and sums in developing the Dopeskill

brand, business, and advertising under the Dopeskill Mark.

          15.    As a result of Plaintiff’s consistent, continuous, and exclusive use of the Dopeskill

Mark in commerce, the mark has become well known across the globe and throughout the United

States.



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                                Plaintiff’s Registered Copyrights

       16.     Plaintiff owns several United States Copyright Registrations for its unique works

of art that it makes available for sale on its website (“Dopeskill Works”):


 Registration        Date       Title of Work                   Image
 No.
 Vau001437441        6/10/21    AJ11




 Vau001437441        6/10/21    AJ12




 Vau001437441        6/10/21    BH Bear




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Vau001437441   6/10/21   Leather Bear




Vau001437441   6/10/21   Sneaker Bear




Vau001437441   6/10/21   Dope Bear




VA0002258273   6/16/21   M.I.T.M.




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VAu001452223   10/15/21 Heartkers 13s




VAu001452223   10/15/21 Love Sick




VAu001452223   10/15/21 Monk




VAu001452223   10/15/21 Robo Bear




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VAu001452223   10/15/21 Sneaker Bull




VAu001452223   10/15/21 Sneaker Goat




VAu001452223   10/15/21 Sneaker Rabbit




VAu001452223   10/15/21 SNK Bear




VAu001452223   10/15/21 Trapped




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Vau001452976   10/15/21 Bean




Vau001452976   10/15/21 Broken Heart Bear




Vau001452976   10/15/21 Broken Slime Heart




Vau001452976   10/15/21 Drip Heart




Vau001452976   10/15/21 Heartkers 1s




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Vau001452976   10/15/21 Heartkers 3s




Vau001452976   10/15/21 Heartkers 4s




Vau001452976   10/15/21 Heartkers 5s




Vau001452976   10/15/21 LoveLove




Vau001452976   10/15/21 Heartkers 9s




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Vau001465682   3/25/22   Dope Bear 1




Vau001465682   3/25/22   Greatest




Vau001465682   3/25/22   Heart Sick




Vau001465682   3/25/22   Hurt Bear




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Vau001465682   3/25/22   Money Fly Icon




Vau001465682   3/25/22   Sneakerhead Bear 1




Vau001465682   3/25/22   Sneakerhead Bear 2




Vau001475385   7/5/22    Drip Bear




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Vau001475385   7/5/22    Heart Break Bunny




Vau001475385   7/5/22    Love Kills Bear




Vau001475385   7/5/22    Money Is Our Motive




Vau001475385   7/5/22    Sad Bear




Vau001475385   7/5/22    Sad Bunny




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Vau001475385   7/5/22    Sneakerhead Bear




Vau001488115   11/21/22 Chillin Frog




Vau001488115   11/21/22 Dope Trippin




Vau001488115   11/21/22 High Flyer




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 Vau001488115        11/21/22 Resist




 Vau001488115        11/21/22 Too Many Feelings




                               Defendants’ Infringing Businesses

       17.     The success of the Dopeskill Mark as used in commerce for online sales as well as

its use on the Dopeskill Works has resulted in rampant counterfeiting and infringement. Plaintiff

has put forth a concerted effort to combat the counterfeiting and infringement activities complained

of herein. Plaintiff has identified numerous e-commerce stores, including those operating under

the Seller Aliases, which were and are offering for sale and/or selling products bearing the

Dopeskill Mark and/or the Dopeskill Works (the “Counterfeit Products”) to consumers in this

Judicial District and throughout the United States.

       18.     Defendants are online retailers of clothing goods, including t-shirts and sweatshirts.

They have targeted online sales to Illinois residents by setting up and operating e-commerce stores,

sometimes using the Seller Aliases, offering shipping to the United States, including Illinois, and




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accepting payment in U.S. dollars. Upon information and belief, Defendants have routinely,

continuously and systematically sold Counterfeit Products to residents of Illinois.

       19.     Upon information and belief, Defendants are residents of China, Vietnam, or other

foreign jurisdictions who operate under a scheme of common ownership and control to create

numerous online retail stores under false names and payment accounts to sell clothing products

and offer online retail services under a false indication of origin.

       20.     Upon information and belief, Defendants also own and operate websites, run online

advertisements, and own and operate seller accounts on popular marketplaces such as eBay,

AliExpress, Printerval, and Redbubble.

       21.     Upon information and belief, Defendants spend significant time, effort, and funds

to target the sale of infringing goods toward United States consumers, including Illinois residents.

                         Defendants’ Willful Trademark Infringement

       22.     Plaintiff’s investigation of Defendants’ online stores revealed that, on the tails of

Plaintiff’s success, Defendants have co-opted the Dopeskill Mark. Defendants use the Dopeskill

Mark directly on their website, in product listing descriptions and on product images in marketing.

       23.     Defendants use the Dopeskill Mark to promote and sell Counterfeit Products to

customers online.

       24.     Defendants also deceive unknowing consumers by using the Dopeskill Mark

without authorization within the content, text, and/or meta tags of their e-commerce stores to

attract various search engines crawling the Internet looking for websites relevant to consumer

searches for authorized products bearing the Dopeskill Mark. Other e-commerce stores operating

under the Seller Aliases omit using the Dopeskill Mark in the item title to evade enforcement




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efforts while using strategic item titles and descriptions that will trigger their listings when

consumers are searching for authorized Dopeskill products.

       25.     Defendants have often posted wholesale copies of Plaintiff’s website product

listings on their own retail websites.

       26.     Defendants’ use of the exact or substantially similar marks to the Dopeskill Mark

on the same goods and services sold in the same stream of commerce to every-day consumers is

highly likely to cause confusion as to the origin of the goods and services among consumers.

       27.     Plaintiff has not licensed or authorized Defendants to use the Dopeskill Mark, and

none of the Defendants are authorized retailers of genuine Dopeskill products.

                          Defendant’s Willful Copyright Infringement

       28.     In addition to trading on Plaintiff’s Dopeskill Mark, some Defendants also sell t-

shirts, sweatshirts, and other related apparel bearing exact copies of the Dopeskill Works.

       29.     Defendants had access to the Dopeskill Works via Plaintiff’s online store which is

published and available to anyone with internet access.

       30.     Upon information and belief, Defendants accessed Plaintiff’s works directly from

its website and copied entire product listings, including the descriptions of the products, links

within the descriptions, and the images containing the works themselves.

       31.     When a customer places an order via Defendants’ online store, if Defendants decide

to fill the order, they print the selected works on low-quality t-shirts and household items, often

overseas, and ship the counterfeit products into the United States to the customer.




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                               Injury to Plaintiff and Consumers

        32.    Defendants’ actions described above have damaged and irreparably harmed

Plaintiff.

        33.    Consumers are highly likely to be confused due to Defendant's use of Plaintiff’s

exact trademark and copyrighted designs.

        34.    If allowed to continue advertising and providing retail store services and online

retail store services under the Dopeskill Mark, Defendants will further damage and injure

Plaintiff’s reputation and the goodwill associated with the Dopeskill Mark, which are well-known

to the relevant consumers as source identifiers for high-quality services.

        35.    If allowed to continue advertising and offering products and services under the

Dopeskill Mark, Defendants will continue to create significant likelihood of consumer confusion

that will irreparably harm the public and its interest in being free from confusion.

        36.    Plaintiff has no adequate remedy at law.

        37.    Defendants knew or should have known that its activities described above

constitute trademark infringement and/or copyright infringement.

        38.    Defendants acted knowingly and willfully in reckless disregard of Plaintiff’s rights.

                               FIRST CLAIM FOR RELIEF
                       Trademark Counterfeiting and Infringement
                    Under § 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

        39.    Plaintiff restates all prior paragraphs as if fully restated herein.

        40.    Defendants have used spurious designations that are identical to or substantially

indistinguishable from the Dopeskill Mark on goods covered by registrations for the Dopeskill

Mark.




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         41.   Defendants’ actions as described above are likely to cause confusion mistake or

deception as to the origin, sponsorship, or approval of Defendants’ products and commercial

activities, and therefore constitute trademark infringement, counterfeiting, and unfair competition

in violation of § 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

         42.   Defendants’ actions described above have, at all times relevant to this action, been

willful and intended to deceive consumers as to the source and authenticity of the Counterfeit

Products.

         43.   Plaintiff has no adequate remedy at law and will continue to suffer irreparable harm

to its reputation and goodwill if Defendants’ actions are not enjoined.

         44.   As a foreseeable, direct, and proximate cause of Defendants’ above-described

actions, Plaintiff and consumers have been and will continue being irreparably damaged.

         45.   As a result, Plaintiff may elect, and Defendants may each be held liable for, up to

$2,000,000 in statutory damages per type of good sold, treble damages, Defendants’ profits, the

damages sustained by Plaintiff, and the costs of this action.

         46.   Additionally, Plaintiff seeks its reasonable attorneys’ fees because this is an

exceptional case.

                                SECOND CLAIM FOR RELIEF
                                    Copyright Infringement
                                 Under 17 U.S.C. §§ 106 and 501

         47.   Plaintiff incorporates all foregoing paragraphs as if fully restated herein.

         48.   Plaintiff owns a copyright registration for each of the works stated in paragraph 16

above.

         49.   The Dopeskill Works are widely disseminated via its own website and social media

accounts, and on physical products.




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       50.      Certain Defendants had access to the Dopeskill Works.

       51.      Certain Defendants downloaded the Dopeskill Works from Plaintiff’s website for

use in their infringement/counterfeit scheme.

       52.      Certain Defendants have reproduced, prepared derivative works of, distributed

copies of, imported into the US, and displayed publicly works that are identical copies of, or

substantially similar to, the Dopeskill Works.

       53.      As a result of certain Defendants’ infringement, Plaintiff has suffered extensive

monetary damages.

       54.      Plaintiff is entitled to the recovery of, at its election, statutory damages of up to

$150,000 per work infringed, actual damages, Defendants’ profits, and the costs of this action.

       55.      Plaintiff is also entitled to preliminary and permanent injunctive relief pursuant to

17 U.S.C. § 502 and 17 U.S.C. § 106.

       56.      Plaintiff is also entitled its attorneys’ fees pursuant to 17 U.S.C. § 505 and § 17

U.S.C. § 106.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court grant the

following relief:

       1. That the Court preliminarily and permanently enjoin and restrain Defendants, as well
          as their heirs, successors, assigns, officers, agents, and employees from:

                a. Reproducing, preparing derivative works of, distributing copies of, and
                   displaying publicly the Dopeskill Works;

                b. Manufacturing, importing, advertising, promoting, offering to sell, selling,
                   distributing, or transferring any products bearing the Dopeskill Mark or any
                   confusingly similar trademark;

                c. Using the Dopeskill Mark or any reproduction, counterfeit copies or imitations
                   thereof in any manner in connection with the manufacturing, delivering,
                   distribution, marketing, advertising, offering for sale, or sale of any product that


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                 is not a legitimate product bearing the Dopeskill Mark or is not authorized by
                 Plaintiff to be sold in connection with the Dopeskill Mark;

             d. Passing off, inducing, and/or enabling others to sell or pass off any product as
                a genuine product bearing the Dopeskill Mark or any other product produced
                by Plaintiff that is not Plaintiff’s product or not otherwise produced with the
                authorization of Plaintiff for sale under the Dopeskill Mark;

             e. Committing any acts reasonably calculated to cause consumers to believe that
                Defendants’ products bearing the Dopeskill Mark are those sold under the
                authorization, control, and/or supervision of Plaintiff or sponsored by, approved
                by, or otherwise connected to Plaintiff;

             f. Further infringing the Dopeskill Mark and causing further damage to Plaintiff’s
                goodwill; and

             g. Aiding or assisting any other third party in subsections (a) and (f) above;

      2. That the Court award Plaintiff, at its election, its actual damages, lost profits,
         consequential damages, exemplary damages, statutory damages, and any other
         damages allowable under law, including an equitable accounting;

      3. That the Court award Plaintiff its costs and attorneys’ fees; and,

      4. That the Court award Plaintiff any other relief to which it is entitled.


                                            Respectfully submitted,

Date: March 25, 2024                        /s/ Eric Misterovich
                                            Eric Misterovich (P73422)
                                            Revision Legal, PLLC
                                            205 North Michigan Avenue, Ste. 810
                                            Chicago, IL 60601
                                            269-281-3908
                                            eric@revisionlegal.com

                                            Attorneys for Plaintiff




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                                    JURY DEMAND

      Plaintiff hereby requests a trial by jury for all eligible counts contained within this

Complaint.

                                          Respectfully submitted,

Date: March 25, 2024                      /s/ Eric Misterovich
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